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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA

   vs.                                         Case Nos.: 3:10cr67/RV/EMT
                                                          3:14cv28/RV/EMT
FRANCISCO TORRES-RODRIGUEZ
___________________________________/
                                      ORDER
         This cause comes on for consideration upon the chief magistrate judge’s Report

and Recommendation dated January 13, 2017 (ECF No. 433). The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). I have made a de novo determination of all timely filed objections.

         Having considered the Report and Recommendation, and the timely filed

objections thereto (doc. 441), I have determined that the Report and Recommendation

should be adopted.

         Accordingly, it is now ORDERED as follows:

         1.    The chief magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this order.

         2.    The motion to vacate, set aside, or correct sentence (ECF No. 337) is

DENIED.
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       3.      A certificate of appealability is DENIED.

       DONE AND ORDERED this 2nd day of March, 2017.



                                     /s/ Roger Vinson
                                     ROGER VINSON
                                     SENIOR UNITED STATES DISTRICT JUDGE




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